Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 1 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 2 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 3 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 4 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 5 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 6 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 7 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 8 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 9 of 39   PageID #: 295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 10 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 11 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 12 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 13 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 14 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 15 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 16 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 17 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 18 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 19 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 20 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 21 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 22 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 23 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 24 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 25 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 26 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 27 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 28 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 29 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 30 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 31 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 32 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 33 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 34 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 35 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 36 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 37 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 38 of 39   PageID #:
                                    295
Case 1:10-cv-00165-JMS-KSC Document 35 Filed 09/29/10 Page 39 of 39   PageID #:
                                    295
